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           EXHIBIT 14
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1                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
2                                 ATLANTA DIVISION

3

4      DONNA CURLING, ET AL.,                 :
                                              :
5                  PLAINTIFFS,                :
       vs.                                    :   DOCKET NUMBER
6                                             :   1:17-CV-2989-AT
       BRAD RAFFENSPERGER, ET AL.,            :
7                                             :
                   DEFENDANTS.                :
8

9

10              TRANSCRIPT OF BENCH TRIAL - VOLUME 3 PROCEEDINGS

11                      BEFORE THE HONORABLE AMY TOTENBERG

12                     UNITED STATES DISTRICT SENIOR JUDGE

13                                 JANUARY 11, 2024

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20

21        MECHANICAL STENOGRAPHY OF PROCEEDINGS AND COMPUTER-AIDED

22                            TRANSCRIPT PRODUCED BY:

23
       OFFICIAL COURT REPORTER:            SHANNON R. WELCH, RMR, CRR
24                                         2394 UNITED STATES COURTHOUSE
                                           75 TED TURNER DRIVE, SOUTHWEST
25                                         ATLANTA, GEORGIA 30303
                                           (404) 215-1383
                           UNITED STATES DISTRICT COURT
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1      Q.    Is your cell number

2      A.    Yes, sir.

3      Q.    Okay.   Do you have any reason to understand why Eric

4      Chaney might be providing that number to Misty Hall on

5      January 7th?

6                  MR. TYSON:    Objection, Your Honor.      I don't think we

7      have a foundation for Mr. Chaney providing anything to Ms. Hall

8      at this point, or Ms. Hampton at this point.          I would also

9      request that for purposes of the transcript, Mr. Sinners' cell

10     phone not be made part of the public transcript.

11                 THE COURT:    That request as to the -- we'll make sure

12     that the transcript does not reflect his number.

13                 Do you want to lay a foundation?        Do you have

14     anything to lay a foundation for the question?          I'm sorry.   I

15     didn't speak loud enough.

16                 Mr. Tyson's objection was, in part, that you hadn't

17     laid a foundation for asking about whether -- this provision of

18     the telephone number.

19                 MR. KNAPP:    Okay.   Let me see here.

20                 THE COURT:    So you would need to address it.

21     BY MR. KNAPP:

22     Q.    Is there also, in your notebook, an exhibit beyond the

23     complaint?

24                 THE COURT:    Number 6, are you saying?

25                 MR. KNAPP:    Number 6.

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1      BY MR. KNAPP:

2      Q.    And this is -- appears to be a series of text messages.

3      Would you turn to -- let's see.

4                  MR. KNAPP:    May I approach, Your Honor?

5                  THE COURT:    Yes.

6                  THE WITNESS:    There's an Amazon order.

7      BY MR. KNAPP:

8      Q.    All kinds of important stuff.

9            Let's see.    If you turn to Page 23 of 24.

10           Do you see that?

11     A.    Sure.

12     Q.    At the top there is -- in a text bubble is a phone number.

13                 MR. TYSON:    Your Honor, I'm just going to object to

14     this line of questions.      We're looking at a document that does

15     not indicate Mr. Sinners was a participant in this

16     conversation.     To ask questions about this, it is not clear who

17     the conversation --

18                 THE COURT:    Why don't we let him try to lay a

19     foundation for it before you start saying what is wrong with

20     it.   All right?

21                 MR. KNAPP:    Exactly, Your Honor.

22     BY MR. KNAPP:

23     Q.    Okay.   And did you observe, on this exhibit, which is

24     Defendants' 270 and Plaintiffs' 110, any notations which would

25     indicate to you whose text messages these are?

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1                  MR. TYSON:    Your Honor, objection.      I just don't see

2      how we can put a document in front of a witness and say do you

3      see something that would tell you what this is.           The witness

4      knows what it is or he doesn't.

5                  THE WITNESS:    I mean, I see what is highlighted.

6      BY MR. KNAPP:

7      Q.    Let's ask Mr. Tyson's question.

8            Do you understand what this -- Defendants' Exhibit 270 is?

9      A.    Can you say that again?      Sorry.

10     Q.    Do you understand what the document is that is before you

11     as Defendants' Exhibit 270?

12     A.    It seemed like text messages to or from Eric Chaney.

13     Q.    Okay.

14     A.    Based on the highlighting.

15     Q.    Did you ever provide your personal cell number to Eric

16     Chaney?

17     A.    I believe so.

18     Q.    And during your deposition, were you asked whether or not

19     you would provide your cell phone records to Mr. Cross?

20     A.    Was I -- I believe he asked me.

21     Q.    Were you asked to give your cell phone records for

22     January 7, 2021, or the month of January to the plaintiffs and

23     Mr. Cross in your deposition?

24     A.    I think he asked if I would or could or should.          I don't

25     know.   I don't think it is relevant.        I had no involvement in

                           UNITED STATES DISTRICT COURT
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1      this.

2      Q.    And your response was you declined to provide your

3      personal telephone records for that date, January 7, 2021?

4      A.    Yes.    I would decline that.

5      Q.    And you didn't bring those records with you here to the

6      court today either, did you?

7      A.    No.

8      Q.    Okay.   Now -- and on February 1st, 2021, you began your

9      work officially with the Secretary of State's office?

10     A.    Yes, sir.

11     Q.    Okay.   And have you ever been interviewed by the Secretary

12     of State or any of their investigators about your dealings with

13     Misty Hampton in November and December of 2020?

14     A.    I would say I've been interviewed regarding the 2020

15     election significantly and probably by every investigative body

16     you could think of.

17     Q.    Were those investigations prior to being hired by the

18     Secretary of State on February 1st, 2021?

19     A.    No.

20     Q.    Okay.   And were you interviewed by these investigators or

21     the Secretary of State about your flight with Alex Kaufman to

22     Coffee County in December of 2020?

23     A.    I think at some point it has come up.

24     Q.    Was that communication prior to being hired by the

25     Secretary of State's office?

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1      A.    Can you rephrase?

2            Was which -- the question -- can you rephrase?          Sorry.   I

3      don't understand your question.

4      Q.    You were going to work -- I assume you applied for this

5      position?

6      A.    I discussed it with the office.

7      Q.    And who did you discuss a potential position in the

8      Secretary of State's office?

9      A.    The first was Jordan Fuchs.

10     Q.    Okay.   And where did it go from there?

11     A.    I interviewed.     I then interviewed, I think, with the

12     whole office.     And -- yeah.    Started.    They needed help.    They

13     needed a Trump whisperer, if you will.

14     Q.    When you say you interviewed with the whole office, did

15     you interview with the Secretary of State Raffensperger?

16     A.    I am not sure.

17     Q.    Had you met Secretary of State Raffensperger by the time

18     you were retained by the Secretary of State in February of

19     2021?

20     A.    Yes.

21     Q.    On how many occasions?

22     A.    Once or more than that.

23     Q.    And did you advise the people you were talking to in the

24     Secretary of State's office that you had had dealings in the

25     Shawn Still suit by notarizing affidavits that were attached to

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1      that suit which was filed against Secretary of State

2      Raffensperger?

3                  MR. TYSON:    Objection, Your Honor.      This has gone on

4      for a little while.      I still fail to see the relevance here of

5      the hiring of Mr. Sinners related to his functioning as a

6      notary for an affidavit.

7                  MR. KNAPP:    In a lawsuit pending against the

8      Secretary to decertify the election results of Coffee County.

9                  THE COURT:    I'm going to allow it.

10                 Go ahead.

11                 THE WITNESS:    What is your question?      Did I discuss

12     being a notary --

13     BY MR. KNAPP:

14     Q.    Right.

15     A.    -- on an affidavit with the Secretary's office?

16     Q.    Right.

17     A.    No.

18     Q.    You were interviewing for a job with the Secretary of

19     State who is responsible for elections, who's had this

20     publicity about the election of 2020 and all the controversy

21     about it, and you are about to go into their employment.

22           Do you think it is appropriate for you to disclose that,

23     hey, I might have some background here you need to know about

24     before I come work for y'all so I don't cause embarrassment?

25                 MR. TYSON:    Again, Your Honor, same relevance

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1      objection and asked and answered.        He has already testified he

2      didn't provide that information.

3                  THE COURT:    I think that is sufficient.       I think you

4      need to move on.     I mean, there may be other things you want to

5      ask about that.     But now you're asking about did he think about

6      it.   I mean, that takes us off on another route.

7                  MR. KNAPP:    One final question, Your Honor.

8                  THE COURT:    Okay.

9      BY MR. KNAPP:

10     Q.    This phone number we've been talking about, was that your

11     phone number on January 7, 2021?

12     A.    The one at the doc -- yes, that is my phone number.

13                 MR. KNAPP:    I have no further questions, Your Honor.

14                 THE COURT:    Thank you.

15                 MR. TYSON:    We have no questions for Mr. Sinners,

16     Your Honor.

17                 THE COURT:    All right.    Is this witness excused, or

18     is he subject to re-call?

19                 MR. TYSON:    He may be subject to re-call in our case,

20     Your Honor.

21                 THE COURT:    All right.    So please don't discuss your

22     testimony with anyone in the event you're going to be re-called

23     and don't -- or somebody else that you know may be called as a

24     witness here.     All right.

25                 THE WITNESS:    Thank you, Your Honor.      I appreciate

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                                                                             54

1      it.

2                  THE COURT:    Who is your next witness?

3                  MR. SPARKS:    Your Honor, the plaintiffs call Michael

4      Barnes.

5                  COURTROOM DEPUTY CLERK:       If you would please raise

6      your right hand.

7                         (Witness sworn)

8                  COURTROOM DEPUTY CLERK:       Please have a seat.

9                  If you would please state your name and spell your

10     full name for the record.

11                 THE WITNESS:     It is Michael Barnes.      Michael,

12     M-I-C-H-A-E-L.     Barnes, B-A-R-N-E-S.

13           Whereupon,

14                                 MICHAEL BARNES,

15           after having been first duly sworn, testified as follows:

16                                CROSS-EXAMINATION

17     BY MR. SPARKS:

18     Q.    Good morning, Mr. Barnes.

19     A.    Good morning.

20     Q.    My name is Adam Sparks.       I'm an attorney for plaintiffs.

21     It is nice to see you in the courtroom again.

22     A.    Nice to see you.

23                 MR. SPARKS:    Your Honor, to clarify for the record,

24     this will be an adverse direct examination.

25                 THE COURT:    Okay.   Thank you.

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1      BY MR. SPARKS:

2      Q.    Mr. Barnes, you're the director for the Center for

3      Election Systems at the Secretary of State's office.            Do I have

4      that right?

5      A.    Yes, sir.

6      Q.    And if I refer to the Center for Election Systems as CES,

7      will you understand what I mean?

8      A.    Yes, sir.

9            But for clarification purposes, there are -- there have

10     been multiple CESs.       So we want to make sure that we're

11     speaking of the right one in the right way.

12     Q.    Yes, sir.    Let's clarify that now.

13           Up until December 31st, 2017, CES was housed at Kennesaw

14     State University; is that correct?

15     A.    Yes.

16                  THE COURT:    Just slow down.

17                  MR. KNAPP:    Slow down.

18                  MR. SPARKS:   My apologies, Your Honor.

19                  My apologies, Madam Court Reporter.

20     BY MR. SPARKS:

21     Q.    From January 1st, 2018, forward to the present day, CES is

22     housed within the Secretary of State's office for the state of

23     Georgia; is that correct?

24     A.    That is correct.

25     Q.    All right.    Now, while I'm at it, if I refer to a Dominion

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1                               C E R T I F I C A T E

2

3      UNITED STATES OF AMERICA

4      NORTHERN DISTRICT OF GEORGIA

5

6            I, SHANNON R. WELCH, RMR, CRR, Official Court Reporter of

7      the United States District Court, for the Northern District of

8      Georgia, Atlanta Division, do hereby certify that the foregoing

9      286 pages constitute a true transcript of proceedings had

10     before the said Court, held in the City of Atlanta, Georgia, in

11     the matter therein stated.

12           In testimony whereof, I hereunto set my hand on this, the

13     11th day of January, 2024.

14

15

16                             ________________________________
                               SHANNON R. WELCH, RMR, CRR
17                             OFFICIAL COURT REPORTER
                               UNITED STATES DISTRICT COURT
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